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                         IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:                                               )
                                                     )         Chapter 11
BankUnited Financial Corporation, et al.,1           )
                                                     )         Case No. 09-19940-LMI
                                   Debtors.          )
                                                     )         (Jointly Administered)

                  SUMMARY OF EIGHTEENTH AND FINAL APPLICATION
                   FOR COMPENSATION AND PAYMENT OF ITEMIZED
                 CHARGES AND EXPENSES TO KILPATRICK TOWNSEND &
               STOCKTON LLP AS COUNSEL FOR THE PLAN ADMINISTRATOR

1.    Name of Applicant:                                 Kilpatrick Townsend & Stockton LLP

2.    Role of Applicant:                                 Counsel for Clifford A. Zucker, Plan Administrator

3.    Name of certifying professional:                   Todd C. Meyers

4.    Date cases filed:                                  May 22, 2009

5.    Effective Date of Plan of Liquidation:             March 9, 2012

6.    Date of engagement by                              March 9, 2012
      Plan Administrator:

7.    Date of this application:                          August 15, 2018

8.    Date of services covered:                          October 1, 2017, through and including July 31, 2018

                         FEES

9.       Total fees requested for this period            $64,051.002
         (from Exhibit 1):


1
 The Debtors are the following two entities (the last four digits of their respective taxpayer identification numbers
follow in parentheses): BankUnited Financial Corporation, a Florida corporation (7773); and BankUnited Financial
Services, Incorporated, a Florida corporation (8335).


2
  This amount includes an additional $15,000.00 for estimated fees expected to be incurred from and after July 31, 2018,
in connection with work related to wind-down of the Debtors’ estates.


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10. Balance remaining in fee retainer         ($ 0.00)
    account, not yet received:

11. Fees paid or advanced for this period,    $0.00
    by other sources:

12. Amount of unpaid fees requested           $0.00
    for this period:

                 EXPENSES
13. Total expense reimbursement               $334.74
    requested for this period:

14. Balance remaining in expense retainer ($ 0.00)
    account, not yet received:

15. Expenses paid or advanced for this        $.00
    period, by other sources:

16. Amount of unpaid expense                  $0.00
    reimbursements requested for this
    period:



History of Fees and Expenses.

        1. Dates, sources, and amounts of retainers received:

           Dates      Sources        Amounts          For fees or costs?

           None

        2. Dates, sources, and amounts of third party payments received:

           Dates      Sources        Amounts          For fees or costs?

           None




                                                -2-


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        3. Prior fee and expense awards.

     POST-                                   TOTAL               TOTAL          TOTAL            AMOUNT
 CONFIRMATION               TOTAL FEES      EXPENSES              FEES         EXPENSES          OF FEES
PERIOD COVERED              REQUESTED      REQUESTED            ALLOWED        ALLOWED         REQUESTED
                                                                                              BUT NOT YET
                                                                                                AWARDED
                                                                                             (“HOLDBACK”)
First Interim
(3/9/12 – 5/31/12)           $168,071.00    $ 3,000.81          $168,071.00     $3,000.81        $0.00
Second Interim
(6/1/12 – 9/30/12)           $503,890.50    $15,825.70          $503,890.50     $15,825.70       $0.00
Third Interim
(10/1/12 – 1/31/13)          $343,736.80    $30,527.70          $343,736.80     $30,527.70       $0.00
Fourth Interim
(2/1/13 – 5/31/13)           $137,361.80    $2,159.05           $137,361.80     $2,159.05        $0.00
Fifth Interim
(6/1/13 – 9/30/13)           $195,134.70    $ 11,121.26         $195,134.70    $ 11,121.26       $0.00
Sixth Interim
(10/1/13 – 1/31/14)          $245,743.10    $8,702.91           $245,743.10     $8,702.91        $0.00
Seventh Interim
(2/1/14 – 5/31/14)           $308,605.30    $5,596.60           $308,605.30     $5,596.60        $0.00
Eighth Interim
(6/1/14 – 9/30/14)           $391,875.30    $17,560.63          $391,875.30     $17,560.63       $0.00
Ninth Interim
(10/1/14 – 1/31/15)          $744,018.30    $25,348.27          $744,018.30     $25,348.27       $0.00
Tenth Interim
(2/1/15 – 5/31/15)           $132,953.60    $4,700.61           $132,953.60     $4,700.61        $0.00
Eleventh Interim
(6/1/15 – 9/30/15)           $240,604.50    $5,152.88           $240,604.50     $5,152.88        $0.00
Twelfth Interim
(10/1/15 – 1/31/16)          $163,141.10     $566.91            $163,141.10      $566.91         $0.00
Thirteenth Interim
(2/1/16 – 5/31/16)           $161,823.60     $770.17            $161,823.60      $770.17         $0.00
Fourteenth Interim
(6/1/16 – 9/30/16)           $26,463.30      $593.33            $26,463.30       $593.33         $0.00
Fifteenth Interim
(10/1/16 – 1/31/17)          $13,196.70       $33.00            $13,196.70       $33.00          $0.00
Sixteenth Interim
(2/1/17 – 5/31/17)           $110,214.50    $3,494.41           $110,214.50     $3,494.41        $0.00
Seventeenth Interim
(6/1/17 – 9/30/17)           $64,238.60      $671.77            $64,238.60       $671.77         $0.00
Eighteenth and Final
(10/1/17 - 7/31/18)          $64,051.00      $334.74               N/A             N/A           N/A
TOTAL                                                       $3,951,072.70      $135,826.01       $0.00

                                                          -3-


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

In re:                                               )
                                                     )        Chapter 11
BankUnited Financial Corporation, et al.,1           )
                                                     )        Case No. 09-19940-LMI
                          Debtors.                   )
                                                     )        (Jointly Administered)


                  EIGHTEENTH AND FINAL APPLICATION FOR
                 COMPENSATION AND PAYMENT OF ITEMIZED
             CHARGES AND EXPENSES TO KILPATRICK TOWNSEND &
           STOCKTON LLP AS COUNSEL FOR THE PLAN ADMINISTRATOR

         Kilpatrick Townsend & Stockton LLP (“Kilpatrick Townsend”), counsel for Clifford A.

Zucker, the plan administrator (the “Plan Administrator”) appointed with respect to Debtors

BankUnited Financial Corporation and BankUnited Financial Services, Incorporated, applies for

final compensation for services rendered and reimbursement of costs incurred for the period

from October 1, 2017, through and including July 31, 2018 (the “Application”). Kilpatrick

Townsend also seeks a final award of all interim fees and costs previously awarded in these cases

on Kilpatrick Townsend’s interim fee applications.

         This Application is filed pursuant to the Official Committee of Unsecured Creditors’

Fourth Amended Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code [ECF No.

1125] (the “Plan”), effective as of March 9, 2012 (the “Effective Date”) and the Plan

Administrator Agreement, dated as of March 30, 2012, by and among (a) Clifford A. Zucker, not

in his individual capacity but solely as Plan Administrator, and (b) BankUnited Financial


1
 The Debtors are the following two entities (the last four digits of their respective taxpayer identification numbers
follow in parentheses): BankUnited Financial Corporation, a Florida corporation (7773); and BankUnited Financial
Services, Incorporated, a Florida corporation (8335).


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Corporation and BankUnited Financial Services, Inc. (the “Plan Administrator Agreement”), and

meets all of the requirements set forth in the Guidelines incorporated in Local Rule 2016-1(B)(1).

The exhibits attached to this Application, pursuant to the Guidelines, are:

        Exhibits “1-A” and “1-B”- Summary of Professional and Paraprofessional Time.

        Exhibit “2” - Summary of Requested Reimbursements of Expenses.

        Exhibit “3” - The applicant’s complete time records, in chronological order, by activity

        code category, for the time period covered by this Application. The requested fees are

        itemized to the tenth of an hour.

        Exhibit “4” – Fee Application Summary Chart

        In this Application, Kilpatrick Townsend seeks the allowance of compensation in the sum

of $64,051.002 and itemized charges and expenses in the sum of $334.74, for a total of

$64,385.74 for professional services rendered and itemized charges and other expenses incurred

by Kilpatrick Townsend on behalf of the Plan Administrator during the period from October 1,

2017, through and including July 31, 2018 (the “Application Period”).

                                  SUMMARY OF PRIOR FEE AWARDS

        In its capacity as counsel for the Plan Administrator, Kilpatrick Townsend has filed

seventeen interim fee applications prior to the filing of this application. The total amount

awarded and paid thus far to Kilpatrick Townsend with respect to its first seventeen interim fee

applications is the sum of $3,951,072.70 in fees and the sum of $135,826.01 for expenses.




2
 This amount includes an additional $15,000.00 for estimated fees expected to be incurred from and after July 31,
2018, in connection with work related to wind-down of the Debtors’ estates.
                                                       -2-


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                           BACKGROUND OF CASES AND
                      DISCUSSION OF ACTIVITIES BY CATEGORY

        1.      On May 22, 2009 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11, United States Code (the “Bankruptcy Code”) in

the United States Bankruptcy Court for the Southern District of Florida, Miami Division.

        2.      On March 2, 2012, the Court entered an order confirming the Plan [ECF No.

1125] (the “Confirmation Order”). Pursuant to the Plan, Confirmation Order and Plan

Administrator Agreement, Clifford A. Zucker was appointed as the Plan Administrator.

        3.      Pursuant to the Plan, Confirmation Order and the Plan Administrator Agreement,

the Plan Administrator, is authorized to retain professionals in his sole discretion, including any

professionals previously employed by the Debtors or the Official Committee of Unsecured

Creditors for BankUnited Financial Corporation, CRE America Corporation, and BankUnited

Financial Services, Incorporated (the “Committee”) in these chapter 11 cases. On the Effective

Date, the Plan Administrator retained Kilpatrick Townsend as his counsel.

        4.      The services for which the Plan Administrator retained Kilpatrick Townsend as

his counsel in these bankruptcy cases include, inter alia, assisting the Plan Administrator in:

        a.      review and analysis of claims and preparation and filing of claim objections;

        b.      analysis of avoidance claims and preparation for prosecution of the same;

        c.      representation in hearings before the Court;

        d.      preparation of all necessary motions, applications, responses, reports, and other

                pleadings in connection with the administration of these cases and adversary

                proceedings related thereto; and


                                                -3-


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        e.        provision of such other legal assistance as the Plan Administrator may deem

                  necessary and appropriate.

        5.        The Plan Administrator selected Kilpatrick Townsend as his attorneys because

of the firm’s role as counsel to the Committee and the resulting knowledge and experience

gained with regard to the issues relevant to the Debtors and their bankruptcy cases, as well as

Kilpatrick Townsend’s general expertise with respect to debtors’ and creditors’ rights and

business reorganizations under chapter 11 of the Bankruptcy Code. The members of Kilpatrick

Townsend’s Bankruptcy and Financial Restructuring Group have extensive experience in all

aspects of chapter 11 cases, having represented debtors, secured creditors, unsecured creditors,

creditors’ committees, chapter 11 trustees, examiners, liquidating trustees, and various other

constituencies.

        6.        This Application covers the period from October 1, 2017, through and including

July 31, 2018. Kilpatrick Townsend reserves the right to amend or supplement the Application

pursuant to the terms of the Plan and the Plan Administrator Agreement.

                                      REQUESTED RELIEF

        7.        All of the services for which compensation is requested herein by Kilpatrick

Townsend were performed for or on behalf of the Plan Administrator and not on behalf of any

other person or entity.

        8.        In accordance with Rule 2016(a) of the Bankruptcy Rules and section 504 of the

Bankruptcy Code, there is no agreement or understanding between Kilpatrick Townsend and

any other person, other than members of the firm, for the sharing of compensation to be

received for services rendered in these cases.
                                                 -4-


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                            SUMMARY OF PROFESSIONAL SERVICES
                        RENDERED DURING THE APPLICATION PERIOD

          9.      During the Application Period, Kilpatrick Townsend expended 72.7 hours in the

performance of its duties as counsel for the Plan Administrator. A schedule of the significant

work performed by Kilpatrick Townsend during the Application Period, itemized in accordance

with its task-specific categories, is as follows:

B110. Asset Disposition                                                                5.10 Hours
                                                                                    $2,167.50 Fees

    10.        During the Application Period, Kilpatrick Townsend:

                 drafted and revised remnant sale agreement and communicated with parties

                  regarding the same.

B120. Business Operations                                                              0.80 Hours
                                                                                      $462.00 Fees

    11.        During the Application Period, Kilpatrick Townsend:

                 reviewed the Debtors’ monthly operating reports and communicated with parties

                  regarding the same.

B130. Case Administration                                                             22.30 Hours
                                                                                   $14,936.50 Fees

    12.        During the Application Period, Kilpatrick Townsend:

                 maintained the case calendar;

                 electronically filed the Debtors’ monthly operating reports;




                                                    -5-


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                attended to matters regarding the closing of the case, including final distributions,

                 document destruction, indenture trustee fees, and final fee applications, and

                 communicated with parties regarding the same; and

                drafted, reviewed and revised motion to destroy business records.

B140. Claims Admin. and Objections                                                          0.90 Hours
                                                                                           $913.50 Fees

    13.       During the Application Period, Kilpatrick Townsend:

                communicated with creditors regarding status of the litigation; and

                communicated with parties regarding distribution status.

B160. Fee/Employment Applications                                                        11.80 Hours
                                                                                       $5,002.00 Fees

    14.       During the Application Period, Kilpatrick Townsend:

                drafted, revised, and electronically filed its seventeenth post-confirmation fee

                 application and communicated with parties regarding the same;

                reviewed and electronically filed CohnReznick LLP’s seventeenth post-

                 confirmation fee application and communicated with parties regarding the same;

                prepared for and participated in hearing with respect to seventeenth post-

                 confirmation fee applications,

                prepared and distributed its monthly fee statement; and

                drafted, reviewed and revised its eighteenth and final fee application.




                                                  -6-


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   B170. Fee/Employment Objections                                                          31.20 Hours
                                                                                         $25,318.50 Fees

       15.       During the Application Period, Kilpatrick Townsend:

                   reviewed and revised motion for payment of indenture trustee fees and

                    communicated with parties regarding the same;

                   reviewed objection to payment of indenture trustee fees and communicated with

                    parties regarding resolution of the same;

                   drafted, reviewed and revised agreed order regarding indenture trustee fees and

                    communicated with parties regarding the same; and

                      prepared for and participated in hearing on indenture trustee fees.

   B190. Litigation General                                                                   0.60 Hours
                                                                                             $251.00 Fees

       16.       During the Application Period, Kilpatrick Townsend:

                   prepared for hearings.

                       COMPLIANCE WITH APPLICABLE LAWS AND RULES
                         REGARDING FEE AND EXPENSE APPLICATIONS

       17.       Task-Code Categories: The professional services rendered by Kilpatrick Townsend

are allocated pursuant to applicable task-code categories.

       18.       Time Entry Format: Kilpatrick Townsend’s time entries contain information

regarding the billing party providing services, a narrative summary of the work performed, and an

itemization (in one-tenth hour increments) of the number of hours expended in performing such




                                                      -7-


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services. Additionally, each time entry reflects the amount of compensation requested in connection

with such time entry.

       19.     Chronology: Kilpatrick Townsend’s time entries are arranged in chronological order

under the appropriate project category.

                         ITEMIZED CHARGES AND OTHER EXPENSES

       20.     In this Application, Kilpatrick Townsend is seeking $334.74 in reimbursement for

itemized charges and other expenses incurred in its duties as counsel for the Plan Administrator.

Kilpatrick Townsend respectfully submits that the itemized charges and other expenses incurred by

it were necessary to the performance of its duties as counsel for the Plan Administrator. The

itemized charges and other expenses are summarized on Exhibit 2.

       21.     Kilpatrick Townsend’s billing statements set forth the total cost for expedited

mailings. The charges incurred by Kilpatrick Townsend in the performance of its duties were

necessary at the time such charges were incurred. Where possible, Kilpatrick Townsend has utilized

electronic mail and other means to transmit data expeditiously and cost effectively.

       22.     Internal photocopies in these cases are billed at the rate of $.15 per page. Outside

photocopies have been billed at Kilpatrick Townsend’s cost for same. Kilpatrick Townsend’s costs

for photocopies are not incorporated into its hourly billing rates; thus, Kilpatrick Townsend bills its

clients separately for copying charges.

       23.     Receipts of various itemized charges and other expenses are not attached to this

Application. Copies of receipts are available to parties in interest upon request.

                                    THE TWELVE FACTOR TEST

       24.     Prior to the confirmation of a plan of reorganization or liquidation, courts

                                                    -8-


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considering whether to approve fees similar to those set forth in this application have looked to the

twelve factor test (the “Johnson factors”) set forth in Johnson v. Georgia Highway Express, Inc.,

488 F.2d 714, 717-19 (5th Cir. 1974), as modified and made applicable to bankruptcy cases by the

Eleventh Circuit in Grant v. George Schumann Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990).

To the extent the Johnson factors have any continuing applicability where, as here, a plan has been

confirmed, they can be applied as follows:

                  (1)      Time and Labor Required: Kilpatrick Townsend has expended 72.7 hours

           in performing services as counsel for the Plan Administrator during the Application

           Period. A summary of the billing rates of the various attorneys, paralegals, and other

           personnel who have performed services for the Plan Administrator is attached hereto as

           Exhibits 1-A and 1-B. Kilpatrick Townsend’s billing statements detailing the

           expenditure of that time are attached hereto as composite Exhibit 3.

                   (2)     Novelty and Difficulty of Questions Presented: The work performed by

           Kilpatrick Townsend has involved issues of varying complexity, as described herein and

           also as set forth in substantial detail in the attached billing statements.

                   (3)     Skill Requisite to Perform Professional Services: The Plan Administrator

           selected Kilpatrick Townsend as its counsel because of the firm’s role as counsel to the

           Committee and the resulting knowledge and experience gained with regard to the issues

           relevant to the Debtors and their bankruptcy cases, as well as Kilpatrick Townsends

           experience and knowledge, generally, with respect to debtors’ and creditors’ rights and

           business reorganizations under Chapter 11 of the Bankruptcy Code.

                   (4)     Preclusion of Other Employment Due to Acceptance of the Cases:

                                                     -9-


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        Attorneys and paraprofessionals of Kilpatrick Townsend have devoted a substantial

        amount of time and resources to these cases, to the possible preclusion of involvement in

        other matters.

                 (5)      Customary Fees for the Type of Services Rendered: Kilpatrick Townsend

        believes that the fees requested and the hourly rates set forth herein are consistent with

        fees typically charged for the type of services rendered in cases of this magnitude and

        complexity. The hourly rates charged by Kilpatrick Townsend in this Application are

        comparable to the rates that Kilpatrick Townsend would charge to a non-bankruptcy

        client for work of a similar nature and complexity.3

                 (6)      Whether the Fee is Fixed or Contingent: Pursuant to the Plan

        Administrator Agreement, Kilpatrick Townsend’s fees and expenses are subject to review

        by the Plan Administrator and the Plan Committee is provided with an opportunity to

        object for a limited period of time. Kilpatrick Townsend’s fees, however, are not

        otherwise contingent.

                 (7)      Time Limitations Imposed by the Client or Other Circumstances: Certain

        deadlines have been applicable herein pursuant to Court order and various provisions of

        the Plan, the Plan Administrator Agreement, the Bankruptcy Code, the Bankruptcy Rules,

        the Federal Rules of Civil Procedure, the Federal Rules of Appellate Procedure and the

        Rules of the United States Court of Appeals for the Eleventh Circuit.

                 (8)      The Amount Involved and Results Obtained: During the Application



3
  By agreement with the Committee, from and after May 25, 2010, fees charged for Kilpatrick Townsend’s work in
pursuit of claims against certain insiders of the Debtors (including standing issues) are being charged at a 20%
                                                     - 10 -


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        Period, Kilpatrick Townsend worked with the Plan Administrator in preparation for the

        final distribution that will soon be made to creditors. Kilpatrick Townsend also reviewed

        various invoices for payment of indenture trustee fees, prepared and filed with this Court

        a motion related thereto, and negotiated with various indenture trustees and their

        professionals regarding payment of fees and expenses.

                 (9)      The Experience, Reputation, and Ability of the Professional: Kilpatrick

        Townsend has extensive experience in bankruptcy matters. Its reputation and ability are

        well known to the bankruptcy bar.

                 (10)    Undesirability of the Cases: This factor is inapplicable to the present

         bankruptcy cases.

                 (11)     Nature and Length of Professional Relationship with the Client:

        Kilpatrick Townsend was previously employed by the Committee to render bankruptcy

        advice and to serve as its counsel in these bankruptcy cases.

                 (12)     Awards in Similar Cases: Kilpatrick Townsend believes that its fee

        application is in keeping with similar applications for compensation and reimbursement

        by counsel for post-confirmation estate fiduciaries in other bankruptcy courts in similar

        cases.

                         WHEREFORE, Kilpatrick Townsend respectfully requests:

        (a)      that the Court approve and allow on a final basis its request for compensation in




discount. The agreement has remained in place following the Committee’s dissolution and the appointment of the
Plan Administrator.
                                                     - 11 -


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the total sum of $64,051.004 for professional services rendered and the total sum of $334.74 for

reimbursement of itemized charges and expenses, for a total of $64,385.74 incurred by Kilpatrick

Townsend in performing its duties as counsel for the Plan Administrator in the above-referenced

bankruptcy cases for the period from October 1, 2017 through and including July 31, 2018;

         (b)        that the Court approve and allow its request for final approval of all interim fees

and costs previously awarded on Kilpatrick Townsend’s first through seventeenth interim fee

applications totaling $3,951,072.70 in fees and $135,826.01 in costs, all of which amounts have

previously been paid to Kilpatrick Townsend; and

         (c)      that the Court grant such other and further relief as is just and proper under the

circumstances.




4
  As previously stated, this amount includes an additional $15,000.00 for estimated fees expected to be incurred
from and after July 31, 2018, in connection with work related to wind-down of the Debtors’ estates.
                                                       - 12 -


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                                        CERTIFICATION

        1.       I have been designated by Kilpatrick Townsend (the “Applicant”) as the

professional with responsibility in these cases for compliance with the “Guidelines for Fee

Applications for Professionals in the Southern District of Florida in Bankruptcy Cases” (the

“Guidelines”).

        2.       I have read Kilpatrick Townsend’s application for compensation and

reimbursement of expenses (the “Application”). The Application complies with the Guidelines,

and the fees and expenses sought fall within the Guidelines.

        3.       The fees and expenses sought are billed at rates and in accordance with practices

customarily employed by the Applicant and generally accepted by the Applicant’s clients.

        4.       In seeking reimbursement for the expenditures described on Exhibit 2, the

Applicant is seeking reimbursement only for the actual expenditure and has not marked up the

actual cost to provide a profit or to recover the amortized cost of investment in staff time or

equipment or capital outlay (except to the extent that the Applicant has elected to charge for in-

house photocopies and outgoing facsimile transmissions at the maximum rates permitted by the

Guidelines).

        5.       In seeking reimbursement for any service provided by a third party, the

Applicant is seeking reimbursement only for the amount actually paid by the Applicant to the

third party.

        6.       The following are the variances with the provisions of the Guidelines, the date of

each court order approving the variance, and the justification for the variance: NONE.



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                                      KILPATRICK TOWNSEND & STOCKTON LLP
                                      Counsel for Clifford A. Zucker, Plan Administrator
                                      1100 Peachtree Street, Suite 2800
                                      Atlanta, Georgia 30309-4530
                                      (404) 815-6500 (Telephone)
                                      (404) 815-6555 (Facsimile)
                                      tmeyers@kilpatricktownsend.com

                                      By: /s/ Todd C. Meyers
                                              Todd C. Meyers
                                              Georgia Bar No. 503756




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                                    EXHIBIT 1A




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                   Timekeeper Summary Chart for Services Rendered
                            During the Application Period
                             BANKRUPTCY MATTER
                                                               AVERAGE
                                         YEAR      TOTAL       HOURLY
        NAME             POSITION      LICENSED    HOURS         RATE              FEE
Todd Meyers                Partner        1991          7.60        $975.00         $7,410.00
Todd Meyers                Partner        1991          9.70      $1,035.00        $10,039.50
Michael Langford          Counsel         1987          6.60        $675.00         $4,455.00
Michael Langford          Counsel         1987         29.80        $700.00        $20,860.00
Blaine Adams              Associate       2016          5.10        $425.00         $2,167.50
Shavone Green             Paralegal       N/A           1.30        $265.00           $344.50
Shavone Green             Paralegal       N/A           3.50        $280.00           $980.00
Molly Williams            Paralegal       N/A           3.60        $295.00         $1,062.00
Molly Williams            Paralegal       N/A           5.50        $315.00         $1,732.50

BLENDED AVERAGE HOURLY: RATE                                        $674.70

TOTAL FEES:                                                                        $49,051.00




    Exhibit 1A to Eighteenth and Final (POST-CONFIRMATION) Fee Application
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                     Timekeeper Summary Chart for Services Rendered
        First Interim Fee Application through Eighteenth and Final Fee Application
                                  BANKRUPTCY MATTER

                                                                   AVERAGE
                                              YEAR        TOTAL HOURLY
          NAME              POSITION        LICENSED      HOURS     RATE*            FEE
Lynn E. Fowler                Partner          1986           3.60     $725.00        $2,610.00
C. Allen Garrett              Partner          1995           2.50     $540.00        $1,350.00
Matthew W. Levin              Partner          1991           0.90     $750.00          $675.00
Alfred S. Lurey               Partner          1967          60.10     $775.00       $46,577.50
Alfred S. Lurey               Partner          1967          22.70     $815.00       $18,500.50
Alfred S. Lurey               Partner          1967          13.20     $850.00       $11,220.00
Alfred S. Lurey               Partner          1967          20.80     $915.00       $19,032.00
Alfred S. Lurey               Partner          1967           0.90     $975.00          $877.50
Todd Meyers                   Partner          1991          64.70     $760.00       $49,172.00
Todd Meyers                   Partner          1991          77.20     $795.00       $61,374.00
Todd Meyers                   Partner          1991          42.90     $825.00       $35,392.50
Todd Meyers                   Partner          1991           7.70     $870.00        $6,699.00
Todd Meyers                   Partner          1991           4.10     $915.00        $3,751.50
Todd Meyers                   Partner          1991          21.20     $975.00       $20,670.00
Todd Meyers                   Partner          1991           9.70   $1,035.00       $10,039.50
Caroline W. Spangenberg       Partner          1977           0.20     $795.00          $159.00
Caroline W. Spangenberg       Partner          1977           1.80     $835.00        $1,503.00
Michael Langford             Counsel           1987          22.30     $495.00       $11,038.50
Michael Langford             Counsel           1987           5.50     $515.00        $2,832.50
Michael Langford             Counsel           1987           1.20     $550.00          $660.00
Michael Langford             Counsel           1987          33.70     $675.00       $22,747.50
Michael Langford             Counsel           1987          29.80     $700.00       $20,860.00
Robbin Rahman                Counsel           2000         394.50     $530.00      $209,085.00
Robbin Rahman                Counsel           2000         169.30     $550.00       $93,115.00
Robbin Rahman                Counsel           2000          24.80     $580.00       $14,384.00
Robbin Rahman                Counsel           2000          96.80     $610.00       $59,048.00
Robbin Rahman                Counsel           2000           7.80     $675.00        $5,265.00
Robbin Rahman                Associate         2000         399.10     $475.00      $189,572.50
Shane Ramsey                 Counsel           2006           2.00     $525.00        $1,050.00
Shane Ramsey                 Associate         2006           2.10     $390.00          $819.00
Shane Ramsey                 Associate         2006           0.60     $475.00          $285.00
Matthew R. Hindman           Associate         2009          36.20     $370.00       $13,394.00
Matthew R. Hindman           Associate         2009          21.00     $405.00        $8,505.00
Blaine E. Adams              Associate         2016           5.10     $425.00        $2,167.50
LaAsia Canty                 Paralegal         N/A           68.80     $230.00       $15,824.00
LaAsia Canty                 Paralegal         N/A           56.30     $240.00       $13,512.00
LaAsia Canty                 Paralegal         N/A           92.10     $250.00       $23,025.00
LaAsia Canty                 Paralegal         N/A           36.00     $265.00        $9,540.00
LaAsia Canty                 Paralegal         N/A           23.70     $280.00        $6,636.00
Shavone Green                Paralegal         N/A            0.90     $250.00          $225.00
Shavone Green                Paralegal         N/A            5.90     $265.00        $1,563.50
Shavone Green                Paralegal         N/A            3.50     $280.00          $980.00


               Exhibit 1A to Eighteenth and Final (Post-Confirmation) Fee Application
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                     Timekeeper Summary Chart for Services Rendered
        First Interim Fee Application through Eighteenth and Final Fee Application
                                  BANKRUPTCY MATTER

                                                                  AVERAGE
                                                 YEAR     TOTAL HOURLY
          NAME               POSITION          LICENSED   HOURS    RATE*                FEE
Molly Williams                 Paralegal          N/A        0.50    $230.00               $115.00
Molly Williams                 Paralegal          N/A        0.40    $240.00                $96.00
Molly Williams                 Paralegal          N/A        1.60    $250.00               $400.00
Molly Williams                 Paralegal          N/A        0.20    $265.00                $53.00
Molly Williams                 Paralegal          N/A        9.50    $280.00             $2,660.00
Molly Williams                 Paralegal          N/A       17.60    $295.00             $5,192.00
Molly Williams                 Paralegal          N/A        5.50    $315.00             $1,732.50
Nakita Hines                    Library           N/A        0.20     $50.00                $10.00
Alex Little                 Case Assistant        N/A        0.40    $135.00                $54.00
Myles McLeeod             Litigation Support      N/A        5.00    $190.00               $950.00
Myles McLeeod             Litigation Support      N/A        0.50   $200.00               $100.00

BLENDED AVERAGE HOURLY RATE:                                            $530.91

TOTAL FEES:                                                                       $1,027,099.50


* Rates increased on an annual basis




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                     Timekeeper Summary Chart for Services Rendered
        First Interim Fee Application through Eighteenth and Final Fee Application
                                       D&O MATTER

                                                                    AVERAGE
                                             YEAR        TOTAL      HOURLY
          NAME             POSITION        LICENSED      HOURS       RATE*          FEE
A. Stephens Clay             Partner          1968           1.30      $564.00         $733.20
C. Allen Garrett             Partner          1995           1.90      $472.00         $896.80
C. Allen Garrett             Partner          1995           2.80      $496.00       $1,388.80
C. Allen Garrett             Partner          1995          16.70      $520.00       $8,684.00
Stephen E. Hudson            Partner          1984          68.50      $524.00      $35,894.00
Matthew W. Levin             Partner          1991          77.30      $572.00      $44,215.60
Matthew W. Levin             Partner          1991          22.70      $588.00      $13,347.60
Matthew W. Levin             Partner          1991         472.90      $600.00     $283,740.00
Matthew W. Levin             Partner          1991          40.90      $632.00      $25,848.80
Alfred S. Lurey              Partner          1967         318.90      $620.00     $197,718.00
Alfred S. Lurey              Partner          1967          93.10      $652.00      $60,701.20
Alfred S. Lurey              Partner          1967         321.10      $680.00     $218,348.00
Alfred S. Lurey              Partner          1967         141.70      $696.00      $98,623.20
Alfred S. Lurey              Partner          1967          11.20      $732.00       $8,198.40
Alfred S. Lurey              Partner          1967           6.20      $780.00       $4,836.00
Todd Meyers                  Partner          1991         197.40      $608.00     $120,019.20
Todd Meyers                  Partner          1991          32.30      $636.00      $20,542.80
Todd Meyers                  Partner          1991          61.80      $660.00      $40,788.00
Todd Meyers                  Partner          1991          28.50      $696.00      $19,836.00
Todd Meyers                  Partner          1991           3.50      $732.00       $2,562.00
Todd Meyers                  Partner          1991          11.40      $780.00       $8,892.00
Ronald Raider                Partner          1986           2.10      $484.00       $1,016.40
Caroline W. Spangenberg      Partner          1977          46.20      $592.00      $27,350.40
Caroline W. Spangenberg      Partner          1977         445.10      $636.00     $283,083.60
Caroline W. Spangenberg      Partner          1977         268.70      $668.00     $179,491.60
Caroline W. Spangenberg      Partner          1977          82.70      $700.00      $57,890.00
Caroline W. Spangenberg      Partner          1977         117.60      $716.00      $84,201.60
Michael Langford            Counsel           1987           3.20      $396.00       $1,267.20
Robbin Rahman               Counsel           2000         139.40      $424.00      $59,105.60
Robbin Rahman               Counsel           2000         711.70      $440.00     $313,148.00
Robbin Rahman               Counsel           2000         450.60      $464.00     $209,078.40
Robbin Rahman               Counsel           2000          39.30      $488.00      $19,178.40
Robbin Rahman               Counsel           2000          43.40      $540.00      $23,436.00
Robbin Rahman               Associate         2000         477.00      $380.00     $181,260.00
Shane Ramsey                Counsel           2006           0.30      $464.00         $139.20
Shane Ramsey                Associate         2006           3.30      $312.00       $1,029.60
Theresa D. Beaton           Associate         2011         103.00      $252.00      $25,956.00
Nicholas E. Brown           Associate         2014          37.70      $236.00       $8,897.20
Nicholas E. Brown           Associate         2014          22.70      $248.00       $5,629.60
John D. Niles               Associate         2010           3.50      $320.00       $1,120.00
Lindsay Simon               Associate         2014           2.30      $276.00         $634.80
Tyechia L. White            Associate         2009          61.60      $340.00      $20,944.00


               Exhibit 1A to Eighteenth and Final (Post-Confirmation) Fee Application
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                     Timekeeper Summary Chart for Services Rendered
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                                       D&O MATTER

                                                                     AVERAGE
                                                 YEAR     TOTAL      HOURLY
          NAME               POSITION          LICENSED   HOURS       RATE*          FEE
LaAsia Canty                   Paralegal          N/A         1.40        $4.00           $5.60
LaAsia Canty                   Paralegal          N/A        85.90      $184.00      $15,805.60
LaAsia Canty                   Paralegal          N/A        16.40      $192.00       $3,148.80
LaAsia Canty                   Paralegal          N/A       541.10      $200.00     $108,220.00
LaAsia Canty                   Paralegal          N/A       165.40      $212.00      $35,064.80
LaAsia Canty                   Paralegal          N/A        60.00      $224.00      $13,440.00
Shavone Green                  Paralegal          N/A         0.40      $200.00          $80.00
Dianne M. Gugliuzza            Paralegal          N/A        45.80      $236.00      $10,808.80
Dianne M. Gugliuzza            Paralegal          N/A        38.80      $248.00       $9,622.40
Dianne M. Gugliuzza            Paralegal          N/A        19.10      $260.00       $4,966.00
Monica L. Roberts              Paralegal          N/A         0.20      $192.00          $38.40
Lisa C. Wilkerson              Paralegal          N/A         8.20      $208.00       $1,705.60
Lisa C. Wilkerson              Paralegal          N/A         5.80      $224.00       $1,299.20
Molly Williams                 Paralegal          N/A         1.90      $184.00         $349.60
Molly Williams                 Paralegal          N/A         1.70      $192.00         $326.40
Molly Williams                 Paralegal          N/A        75.10      $200.00      $15,020.00
Molly Williams                 Paralegal          N/A        10.40      $212.00       $2,204.80
Molly Williams                 Paralegal          N/A         0.10      $224.00          $22.40
Deidre L. Leavell              Paralegal          N/A         0.60      $184.00         $110.40
Louise V. Adams                 Library           N/A         0.80      $120.00          $96.00
Jennifer A. Elrod               Library           N/A         3.40      $120.00        $408.00
Nakita Hines                    Library           N/A         0.30       $40.00          $12.00
Trevor Rosen                    Library           N/A         2.40      $120.00        $288.00
Kimberly Snoddy-George          Library           N/A         5.60      $120.00        $672.00
Diane C. Khoury             Case Assistant        N/A        16.30      $116.00       $1,890.80
Diane C. Khoury             Case Assistant        N/A        35.40      $120.00       $4,248.00
Thomas L. Brunemeyer        Case Manager          N/A         3.00      $224.00         $672.00
Darcie Spruance           Litigation Support      N/A         9.10      $144.00       $1,310.40
Darcie Spruance           Litigation Support      N/A         2.10      $160.00         $336.00
Dora Day                  Litigation Support      N/A         0.50      $152.00          $76.00
May Stabler               Research Analyst        N/A         0.50      $120.00          $60.00
                                                           6151.20
BLENDED AVERAGE HOURLY RATE:                                            $479.90

TOTAL FEES:                                                                       $2,951,979.20

*Rates increased on an annual basis




                Exhibit 1A to Eighteenth and Final (Post-Confirmation) Fee Application
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                        Timekeeper Summary Chart for Services Rendered
           First Interim Fee Application through Eighteenth and Final Fee Application
                                           CRE MATTER

                                                                          AVERAGE
                                                   YEAR         TOTAL     HOURLY
         NAME                   POSITION         LICENSED       HOURS       RATE              FEE
David M. Eaton                    Partner           1996           9.10      $515.00           $4,686.50
Todd Meyers                       Partner           1991           1.90      $795.00           $1,510.50
Robbin Rahman                    Counsel            2000          24.80      $530.00          $13,144.00
Paula M. Nagarajan               Associate          2010           3.60      $300.00           $1,080.00
LaAsia Canty                     Paralegal          N/A            2.60      $240.00             $624.00

BLENDED AVERAGE HOURLY RATE:                                                   $501.07

TOTAL FEES:                                                                                   $21,045.00




                     Exhibit 1A to Eighteenth and Final (Post-Confirmation) Fee Application
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                                    EXHIBIT 1B




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                            Timekeeper Summary by Task Code
                              During the Application Period

                            BANKRUPTCY MATTER

                                 B110 - Asset Disposition
Summary   Timekeeper Name                        Hours          Rate/Hour               Amount
BEA       Blaine E. Adams                           5.1               425              2,167.50
          Task Subtotal                             5.1                                2,167.50

                                B120 - Business Operations
Summary   Timekeeper Name                        Hours          Rate/Hour              Amount
 TCM      Todd C. Meyers                          0.10            $975.00               $97.50
 MDL      Michael D. Langford                     0.40            $675.00              $270.00
 MMW      Molly Williams                          0.30            $315.00               $94.50
          Task Subtotal                           0.80                                 $462.00


                       B130 - Case Administration and Analysis
Summary   Timekeeper Name                     Hours       Rate/Hour                    Amount
 TCM      Todd C. Meyers                          0.10            $975.00                $97.50
 TCM      Todd C. Meyers                          2.30          $1,035.00             $2,380.50
 MDL      Michael D. Langford                    16.40            $700.00            $11,480.00
 MMW      Molly Williams                          0.60            $295.00               $177.00
  SG      Shavone Green                           0.70            $265.00               $185.50
  SG      Shavone Green                           2.20            $280.00               $616.00
          Task Subtotal                          22.30                               $14,936.50

                      B140 - Claims Administration and Objections
Summary   Timekeeper Name              Hours          Rate/Hour             Amount
  TCM     Todd C. Meyers                          0.30            $975.00              $292.50
  TCM     Todd C. Meyers                          0.60          $1,035.00              $621.00
          Task Subtotal                           0.90                                 $913.50

                    B160 - Fee/Employment Applications Summary
Summary   Timekeeper Name                Hours           Rate/Hour          Amount
 TCM      Todd C. Meyers                          0.70            $975.00               $682.50
 TCM      Todd C. Meyers                          0.40          $1,035.00               $414.00
 MDL      Michael D. Langford                     0.60            $675.00               $405.00
 MDL      Michael D. Langford                     1.10            $700.00               $770.00
 MMW      Molly Williams                          2.50            $295.00               $737.50
 MMW      Molly Williams                          5.20            $315.00             $1,638.00
  SG      Shavone Green                           0.60            $265.00               $159.00
  SG      Shavone Green                           0.70            $280.00               $196.00
          Task Subtotal                          11.80                                $5,002.00



    Exhibit 1B to Eighteenth and Final (POST-CONFIRMATION) Fee Application
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                            Timekeeper Summary by Task Code
                              During the Application Period

                            B170 - Fee/Employment Objections
Summary   Timekeeper Name               Hours            Rate/Hour         Amount
TCM       Todd C. Meyers                          6.40           $975.00             $6,240.00
TCM       Todd C. Meyers                          6.30         $1,035.00             $6,520.50
MDL       Michael D. Langford                     5.60           $675.00             $3,780.00
MDL       Michael D. Langford                    12.30           $700.00             $8,610.00
SG        Shavone Green                           0.60           $280.00               $168.00
          Task Subtotal                          31.20                              $25,318.50



                                B190 - Litigation General
Summary   Timekeeper Name               Hours            Rate/Hour         Amount
TCM       Todd C. Meyers                          0.10         $1,035.00              $103.50
 MMW      Molly Williams                          0.50          $295.00               $147.50
          Task Subtotal                           0.60                                $251.00




      Exhibit 1B to Eighteenth and Final (POST-CONFIRMATION) Fee Application
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                                                  EXHIBIT 2
                                     Summary of Requested Reimbursement
                                     of Expenses for This Time Period Only

1.      Filing Fees.....................................................................................................................$0.00
2.      Process Service Fees .....................................................................................................$0.00
3.      Witness Fees .................................................................................................................$0.00
4.      Court Reporter & Transcripts .......................................................................................$0.00
5.      Lien and Title Searches .................................................................................................$0.00
6.      Photocopies .................................................................................................................$54.90
        (a) In-house copies (@ $.15)
7.      Postage ..........................................................................................................................$0.00
8.      Overnight Delivery Charges .........................................................................................$0.00
9.      Outside Courier/Messenger Service .............................................................................$0.00
10.     Long Distance Telephone Charges ...............................................................................$0.00
11.     Long Distance Fax Transmissions ................................................................................$0.00
12.     Computerized Research ............................................................................................$161.84
13.     Out of Town Travel ......................................................................................................$0.00
14.     Other Permissible Expenses ..........................................................................................$0.00
        (a) CourtCall ............................................................................................................$118.00


TOTAL EXPENSE REIMBURSEMENT REQUESTED ..............................................$334.74




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                                        EXHIBIT 2
                   Summary of Requested Reimbursement of Expenses for
        First Interim Fee Application through Eighteenth and Final Fee Application

1.      Filing Fees.................................................................................................................$130.29
2.      Process Service Fees .................................................................................................$903.60
3.      Witness Fees .................................................................................................................$5.00
4.      Court Reporter & Transcripts ..............................................................................$10,376.23
5.      Lien and Title Searches .................................................................................................$0.00
6.      Photocopies ............................................................................................................$6,770.65
        (a) In-house copies (@ $.15)
7.      Postage ......................................................................................................................$237.29
8.      Overnight Delivery Charges ..................................................................................$1,059.75
9.      Outside Courier/Messenger Service .........................................................................$196.20
10.     Long Distance Telephone Charges ...........................................................................$270.57
11.     Long Distance Fax Transmissions ................................................................................$0.00
12.     Computerized Research .......................................................................................$68,373.13
13.     Out of Town Travel .............................................................................................$28,105.07
        (a) Airfare ($15,580.25)
        (b) Lodging ($8,119.62)
        (c) Meals ($2,354.00)
        (d) Taxi ($1,707.76)
        (e) Parking ($128.00)
        (f) Gogo Inflight Internet ($126.35)
        (g) Car Rental ($89.09)
14.     Other Permissible Expenses .................................................................................$19,732.97
        (a) Media – 500 GB Hard Drive ($125.00)
        (b) CourtCall ($363.00)
        (c) On-Site Sourcing – Management of discovery documents ($6,503.85)
        (d) Mediation Fee ($10,742.20)
        (e) Certificates of Good Standing ($90.00)
        (f) Staff Overtime ($210.00)
        (g) Document Retrieval Services - Certified copies of formation and
            business documents in connection with jurisdictional statement ($649.58)
        (h) Office Supplies – Fees for custom tabs in connection USSIC Appeal ($505.44)


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        (i) Local Meals ($41.15)
        (j) CT Corporation (NCB Statutory Trust I (DE) Dissolution) ($502.75)


TOTAL EXPENSE REIMBURSEMENT REQUESTED .......................................$136,160.75




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                                    EXHIBIT 3




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August 13, 2018

CLIFFORD ZUCKER, BANKUNITED PLAN TRUSTEE                          Client:            061330
J.H. COHN                                                         Matter:            0835174
333 THORNALL STREET                                               Invoice #:         ******
EDISON, NJ 08837


RE:    BANKUNITED POST CONFIRMATION

For Professional Services October 1, 2017 Through July 31, 2018:


                                        B110 - Asset Disposition
Date        Initials Description                                                        Hours   Amount
06/20/2018 BEA      Research case law regarding debtor authority to                      3.40   1,445.00
                    abandon/destroy property (1.9); incorporate such cases into
                    draft of motion (1.3); coordinate same with M. Langford (.2).
06/21/2018 BEA      Research case law regarding debtor's ability to                      1.70    722.50
                    abandon/destroy property (.2); draft motion to
                    abandon/destroy property (1.5).
                    Task Subtotal                                                        5.10   2,167.50

                                    B110 - Asset Disposition Summary
Summary    Timekeeper Name                                            Hours     Rate/Hour       Amount
BEA        Blaine E. Adams                                             5.10         425.00      2,167.50
           Task Subtotal                                               5.10                     2,167.50

                                       B120 - Business Operations
Date        Initials Description                                                        Hours   Amount
11/06/2017 MDL      Review email from Adam Hanover regarding operating                   0.10     67.50
                    reports.
11/21/2017 MDL      Review quarterly operating reports and conference with               0.30    202.50
                    Molly Williams regarding the same.
11/21/2017 TCM      Review MOR.                                                          0.10     97.50
03/20/2018 MMW Prepare and file quarterly operating reports.                             0.30     94.50
                    Task Subtotal                                                        0.80    462.00
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                                   B120 - Business Operations Summary
Summary   Timekeeper Name                                           Hours       Rate/Hour         Amount
TCM       T. C. Meyers                                                0.10            975.00       97.50
MDL       M. D. Langford                                              0.40            675.00      270.00
MMW       M. M. Williams                                              0.30            315.00       94.50
          Task Subtotal                                               0.80                        462.00

                                B130 - Case Administration and Analysis
Date        Initials Description                                                          Hours   Amount
10/10/2017 SG       Calendar hearing date.                                                 0.10    26.50
10/11/2017 SG       Calendar hearing date.                                                 0.10    26.50
10/13/2017 SG       Calendar hearing date                                                  0.10    26.50
11/16/2017 SG       Distribute fee application exhibits.                                   0.10    26.50
11/21/2017 MMW Redact and file quarterly operating reports.                                0.50   147.50
11/21/2017 TCM      Email exchanges with Molly Williams regarding hearing                  0.10    97.50
                    preparation.
11/22/2017 MMW Calendar hearing dates and deadlines.                                       0.10    29.50
11/27/2017 SG       Calendar hearing date and arrange courtcall appearance.                0.10    26.50
12/06/2017 SG       Calendar hearing date.                                                 0.10    26.50
12/07/2017 SG       Calendar hearing date.                                                 0.10    26.50
01/05/2018 SG       Prepare and distribute hearing binder.                                 0.30    84.00
01/10/2018 MDL      Review operating reports and claim distribution information.           0.50   350.00
01/11/2018 MDL      Email with Todd Meyers regarding conference call and                   0.10    70.00
                    closing the case.
01/12/2018 MDL      Review email from Adam Hanover regarding conference call               1.10   770.00
                    (.1); conference with Shavone Green regarding final
                    distribution notice (.1); emails with Cliff Zucker, Adam
                    Hanover and Todd Meyers regarding case closing issues (.2);
                    file review regarding case closing and final distribution (.7).
01/12/2018 SG       Distribute distribution notice.                                        0.10    28.00
01/15/2018 MDL      Review documents regarding final distribution and case                 0.50   350.00
                    closing (.3); telephone call with Cliff Zucker, Adam Hanover,
                    and Todd Meyers regarding distribution and case closing (.2).
01/15/2018 TCM      Call with Clifford Zucker, Adam Hanover and Mike                       0.20   207.00
                    Langford regarding case closing issues.
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Date      Initials Description                                                      Hours   Amount
01/19/2018 MDL    Telephone call with Shavone Green regarding document               1.60   1,120.00
                  destruction (.1); review document destruction pleadings in
                  other cases and draft motion related thereto (1.4); email with
                  Todd Meyers regarding case closing (.1).
01/19/2018 SG     Conduct precedent search regarding motion to destroy.              0.50    140.00
01/19/2018 TCM    Email exchanges with Mike Langford regarding case closing.         0.10    103.50
01/23/2018 MDL    Review remnant agreement (.1); review plan regarding               0.20    140.00
                  records and claim distributions (.1).
01/24/2018 MDL    Review and revise motion to destroy business records and           1.10    770.00
                  review plan and plan administrator agreement in connection
                  therewith.
01/26/2018 MDL    Review email from Leo Crowley regarding claim distribution         0.10     70.00
                  and indenture trustee fees.
01/29/2018 MDL    Telephone call with Todd Meyers regarding indenture trustee        0.20    140.00
                  fees (.1); review emails from Andrew Silfen and Adam
                  Hanover regarding indenture trustee fees (.1).
01/31/2018 MDL    Review and revise document destruction motion and review           0.60    420.00
                  plan in connection therewith.
02/04/2018 TCM    Email exchanges with Mike Langford regarding case closing.         0.10    103.50
02/05/2018 MDL    Email with Todd Meyers regarding case closing (.1); review         0.20    140.00
                  motion to destroy business records (.1).
02/05/2018 TCM    Review Mike Langford email regarding status.                       0.10    103.50
02/09/2018 MDL    Emails with Todd Meyers regarding case closing and final           0.40    280.00
                  distirbutions.
02/09/2018 TCM    Email exchanges with Mike Langford regarding closing               0.20    207.00
                  status.
02/11/2018 TCM    Review abandonment motion and email exchanges with Mike            0.30    310.50
                  Langford regarding same.
02/16/2018 MDL    Review email from Deltec regarding distribution and email          0.20    140.00
                  with Todd Meyers regarding the same.
02/21/2018 MDL    Conference with Molly Williams regarding final fee                 0.10     70.00
                  application.
02/23/2018 MDL    Review emails from Adam Hanover regarding final                    0.10     70.00
                  disribution.
02/23/2018 TCM    Review Adam Hanover email to BNY regarding distribution.           0.10    103.50
03/03/2018 TCM    Email exchanges with Mike Langford regarding status.               0.10    103.50
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Date      Initials Description                                                      Hours   Amount
03/05/2018 MDL    Emails with Todd Meyers regarding final distribution and           0.30   210.00
                  motion to destroy documents (.2); conference with Todd
                  Meyers regarding document destruction motion (.1).
03/05/2018 TCM    Review motion to destroy records and email exchanges with          0.20   207.00
                  Mike Langford regarding same and other issues.
03/13/2018 SG     Correspond with professionals regarding interim fee                0.10    28.00
                  application deadline.
03/19/2018 MDL    Review motion to destroy business records and review filings       0.90   630.00
                  in other cases (.4), review motion regarding final distribution
                  and fee applications (.2) conference with Shavone Green
                  regarding motion to destroy records (.1); review operating
                  reports (.2).
03/19/2018 SG     Conduct precedent research regarding motion to destroy.            1.00   280.00
03/28/2018 MDL    Email regarding motion to close cases and make final               0.10    70.00
                  distribution and final fee applications.
04/03/2018 MDL    Draft notes regarding final distribution.                          0.10    70.00
04/23/2018 MDL    Review email from Todd Meyers regarding case closing.              0.10    70.00
05/04/2018 TCM    Telephone conference with Cliff Zucker regarding case              0.10   103.50
                  closing.
05/15/2018 MDL    Review emails from local counsel regarding motion to               0.20   140.00
                  destroy business records.
05/16/2018 SG     Prepare files to be sent to records.                               0.20    56.00
06/05/2018 MDL    Email with Todd Meyers regarding claim distribution.               0.10    70.00
06/05/2018 TCM    Email Mike Langford regarding status.                              0.10   103.50
06/14/2018 MDL    Review email from Adam Hanover regarding case closing.             0.10    70.00
06/18/2018 MDL    Email with Todd Meyers regarding final distribution and case       0.10    70.00
                  closing issues.
06/18/2018 TCM    Email exchanges with Mike Langford regarding status.               0.10   103.50
06/20/2018 MDL    Review various documents and emails in preparation for final       0.70   490.00
                  distribution and closing the cases (.5); emails and telephone
                  call with Blaine Adams regarding motion to destroy business
                  records (.2).
06/21/2018 MDL    Telephone call with Adam Hanover regarding final                   0.30   210.00
                  distribution (.1); email with Blaine Adams regarding motion
                  to destroy business records (.2).
06/24/2018 MDL    Email with Todd Meyers regarding operating reports.                0.10    70.00
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Date       Initials Description                                                         Hours     Amount
06/30/2018 MDL     Review charts and other documents regarding final claim               2.40    1,680.00
                   distribution and motion for final decree and draft notes
                   regarding issues related thereto (2.0); review motion to
                   destroy business records (.4).
07/06/2018 MDL     Email with Todd Meyers regarding status.                              0.10      70.00
07/06/2018 TCM     Email exchanges with Mike Langford regarding status.                  0.10     103.50
07/30/2018 MDL     Review and revise various pleadings regarding closing the             1.80    1,260.00
                   cases and final distribution and emails with Todd Meyers
                   regarding the same.
07/30/2018 TCM     Various exchanges with Mike Langford regarding closing                0.20     207.00
                   case.
07/31/2018 MDL     Review motion for final decree, notice of final distribution,         2.00    1,400.00
                   and motion to destroy business records (.4); emails with Todd
                   Meyers regarding issues related to closing the Chapter 11
                   cases (.2); review claim distribution information (.7); emails
                   and voice mail messages to Adam Hanover regarding closing
                   the cases (.2); review quarterly operating reports (.5).
07/31/2018 TCM     Review case closing pleadings and exchanges with Mike                 0.30     310.50
                   Langford regarding same.
                   Task Subtotal                                                        22.30   14,936.50

                           B130 - Case Administration and Analysis Summary
Summary   Timekeeper Name                                        Hours         Rate/Hour          Amount
TCM       T. C. Meyers                                             0.10             975.00         97.50
TCM       T. C. Meyers                                             2.30         1,035.00         2,380.50
MDL       M. D. Langford                                          16.40             700.00      11,480.00
MMW       M. M. Williams                                           0.60             295.00        177.00
SG        Shavone Green                                            0.70             265.00        185.50
SG        Shavone Green                                            2.20             280.00        616.00
          Task Subtotal                                           22.30                         14,936.50

                                   B140 - Claims Adm. and Objections
Date       Initials Description                                                         Hours     Amount
10/11/2017 TCM     Telephone conference with Peter Coolidge regarding status.            0.20     195.00
11/20/2017 TCM     Email exchanges with Adam Hanover regarding creditor                  0.10      97.50
                   inquiry.
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Date        Initials Description                                                        Hours   Amount
02/16/2018 TCM      Voicemail exchange with Peter Coolidge regarding                     0.20   207.00
                    distribution and email exchanges with Mike Langford and
                    Peter Coolidge regarding same.
02/21/2018 TCM      Email exchanges with David Kerr regarding distribution               0.20   207.00
                    status.
07/31/2018 TCM      Exchanges with Peter Coolidge regarding status of closing            0.20   207.00
                    (.1); exchanges with Mike Langford regarding same (.1).
                    Task Subtotal                                                        0.90   913.50

                             B140 - Claims Adm. and Objections Summary
Summary   Timekeeper Name                                         Hours         Rate/Hour       Amount
TCM       T. C. Meyers                                              0.30           975.00       292.50
TCM       T. C. Meyers                                              0.60          1,035.00      621.00
          Task Subtotal                                             0.90                        913.50

                                   B160 - Fee/Employment Applications
Date        Initials Description                                                        Hours   Amount
11/01/2017 MDL      Conference with Shavone Green regarding fee applications             0.20   135.00
                    and review email regarding the same.
11/01/2017 SG       Correspond with team regarding fee application filing date.          0.10    26.50
11/07/2017 MDL      Email with Molly Williams regarding KT's fee application.            0.10    67.50
11/07/2017 MMW Prepare KT's seventeenth interim fee application.                         0.80   236.00
11/14/2017 MDL      Review email message from Molly Williams regarding KT's              0.10    67.50
                    fee application.
11/14/2017 MMW Review and revise seventeenth interim fee application.                    0.80   236.00
11/14/2017 TCM      Work on fee application.                                             0.30   292.50
11/15/2017 MMW Review and revise seventeenth fee application.                            0.30    88.50
11/15/2017 TCM      Review Cohn Reznick fee application and email exchanges              0.20   195.00
                    with Clifford Zucker regarding same.
11/17/2017 TCM      Conference with Clifford Zucker regarding Cohn fee                   0.10    97.50
                    application.
11/20/2017 MDL      Emails with Molly Williams regarding fee applications.               0.10    67.50
11/20/2017 TCM      Review revised Cohn application.                                     0.10    97.50
11/21/2017 MDL      Conference with Molly Williams regarding KT's fee                    0.10    67.50
                    application.
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Date        Initials Description                                                       Hours   Amount
11/21/2017 MMW Prepare, file, and serve Kilpatrick Townsend's and                       0.60    177.00
               CohnReznick's seventeenth interim fee applications.
12/05/2017 SG       Prepare monthly fee application.                                    0.50    132.50
01/09/2018 SG       Prepare and distribute December monthly fee statement.              0.50    140.00
01/10/2018 MDL      Review proposed fee application orders and emails with local        0.40    280.00
                    counsel regarding the same.
01/25/2018 MDL      Conference with Molly Williams regarding KT's fee                   0.10     70.00
                    application.
01/25/2018 MMW Prepare KT fee application.                                              2.00    630.00
02/13/2018 SG       Prepare and distribute monthly invoice.                             0.20     56.00
02/14/2018 MMW Prepare final fee application.                                           0.20     63.00
02/15/2018 MMW Prepare final fee application.                                           1.50    472.50
03/07/2018 MMW Revise final fee application.                                            1.00    315.00
03/07/2018 TCM      Email exchanges with Mike Langford regarding final fee              0.10    103.50
                    application.
03/08/2018 MDL      Email regarding final fee applications.                             0.10     70.00
03/08/2018 MMW Review and revise final fee application.                                 0.50    157.50
03/10/2018 MDL      Email with Todd Meyers regarding fee applications.                  0.10     70.00
03/11/2018 TCM      Review final fee application and email exchanges with Mike          0.30    310.50
                    Langford regarding same.
03/13/2018 MDL      Review email regarding CohnReznick's fee application.               0.10     70.00
03/20/2018 MDL      Review email from Molly Williams regarding fee                      0.10     70.00
                    applications.
03/23/2018 MDL      Telephone call with Shavone Green regarding fee                     0.10     70.00
                    applications.
03/26/2018 MDL      Conference with Shavone Green regarding fee applications.           0.10     70.00
                    Task Subtotal                                                      11.80   5,002.00

                            B160 - Fee/Employment Applications Summary
Summary   Timekeeper Name                                        Hours        Rate/Hour        Amount
TCM       T. C. Meyers                                             0.70            975.00       682.50
TCM       T. C. Meyers                                             0.40          1,035.00       414.00
MDL       M. D. Langford                                           0.60            675.00       405.00
MDL       M. D. Langford                                           1.10            700.00       770.00
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Summary   Timekeeper Name                                         Hours        Rate/Hour        Amount
MMW       M. M. Williams                                             2.50           295.00       737.50
MMW       M. M. Williams                                             5.20           315.00      1,638.00
SG        Shavone Green                                              0.60           265.00       159.00
SG        Shavone Green                                              0.70           280.00       196.00
          Task Subtotal                                           11.80                         5,002.00

                                  B170 - Fee/Employment Objections
Date       Initials Description                                                         Hours   Amount
10/01/2017 MDL     Email regarding indenture trustee fees.                               0.10     67.50
10/01/2017 TCM     Email exchanges with Cori Lopez Castro regarding Indenture            0.10     97.50
                   Trustee fees.
10/07/2017 MDL     Emails with Todd Meyers regarding indenture trustee fees.             0.10     67.50
10/07/2017 TCM     Email exchanges with Clifford Zucker regarding motion                 0.10     97.50
                   status.
10/08/2017 MDL     Review email from Cori Lopez-Castro regarding indenture               0.10     67.50
                   trustee fees motion.
10/09/2017 MDL     Review email regarding indenture trustee invoice.                     0.10     67.50
10/09/2017 TCM     Review U.S. Bank supplemental fees.                                   0.10     97.50
10/10/2017 MDL     Review and revise motion regarding payment of indenture               1.00    675.00
                   trustee fees (.4); email with Todd Meyers regarding motion
                   (.1); review local rules regarding motions and hearings
                   thereon (.2); emails with Yamile Castro regarding motion on
                   payment of indenture trustee fees (.3).
10/10/2017 TCM     Email exchanges regarding hearing and email exchanges with            0.20    195.00
                   Andy Silfen regarding same.
10/11/2017 MDL     Review indenture trustee fees motion and hearing notice.              0.10     67.50
10/11/2017 TCM     Review notice of hearing on IT fee motion.                            0.10     97.50
10/12/2017 MDL     Review emails regarding rescheduled hearing on indenture              0.10     67.50
                   trustee fees.
10/12/2017 TCM     Email exchanges with Cori Lopez Castro regarding IT fee               0.40    390.00
                   hearing (.1); email exchanges with client regarding same (.1);
                   email exchanges with Andy Silfen regarding same (.2).
10/13/2017 MDL     Review emails regarding hearing on indenture trustee fees             0.10     67.50
                   motion.
10/13/2017 TCM     Review motion and order regarding hearing.                            0.10     97.50
10/19/2017 MDL     Review emails regarding indenture trustee fees.                       0.10     67.50
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Date      Initials Description                                                    Hours   Amount
10/19/2017 TCM    Email exchanges with Craig Rasile regarding motion.              0.10    97.50
10/20/2017 TCM    Telephone conference with Craig Rasile regarding                 0.60   585.00
                  Wilmington Trust fees (.3); review Bank of New York email
                  regarding fees and email exchanges with Craig Rasile
                  regarding same (.2); email client regarding above (.1).
11/01/2017 TCM    Email exchanges with Craig Rasile regarding hearing and          0.20   195.00
                  objection.
11/15/2017 MDL    Email with Todd Meyers regarding indenture trustee motion.       0.10    67.50
11/15/2017 TCM    Email exchanges regarding objection deadlines (.1);              0.20   195.00
                  conference with Mike Langford and email exchanges with
                  local counsel regarding same (.1).
11/17/2017 TCM    Telephone conference with Jeff Snyder regarding trustee fee      0.30   292.50
                  motion.
11/20/2017 TCM    Review Craig Rasile email regarding trustee fee objection        0.20   195.00
                  (.1); email exchanges with Andrew Silfen regarding same
                  (.1).
11/21/2017 MDL    Conference with Molly Williams regarding hearing on              0.40   270.00
                  indenture trustee motion (.1); review objection (.3).
11/21/2017 TCM    Review David Samole email regarding objection (.1);              0.30   292.50
                  telephone conference with David Samole regarding same and
                  regarding hearing (.2).
11/22/2017 MDL    Conference with Molly Williams regarding indenture trustee       0.10    67.50
                  payment motion and review notice of hearing.
11/22/2017 TCM    Telephone conference with local counsel regarding hearing        0.50   487.50
                  strategy (.3); email exchanges with Andrew Silfen and local
                  counsel regarding continuance (.2).
11/23/2017 TCM    Email exchanges with Jeff Snyder and local counsel               0.20   195.00
                  regarding continuance.
11/24/2017 TCM    Review objection to payment of trustee fees (.3); email          0.40   390.00
                  exchanges with Andrew Silfen regarding continuance (.1).
11/26/2017 TCM    Telephone conference with Clifford Zucker regarding hearing      0.20   195.00
                  continuance and email exchanges regarding same.
11/27/2017 MDL    Conference with Shavone Green regarding hearing on               0.10    67.50
                  indenture trustee payment motion.
11/27/2017 TCM    Email exchanges regarding hearing continuance.                   0.10    97.50
12/05/2017 TCM    Email Andy Silfen regarding status.                              0.10    97.50
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Date      Initials Description                                                      Hours   Amount
12/06/2017 MDL    Review email message from Andrew Silfen regarding                  1.00    675.00
                  indenture trustee fees of Wilmington (.1); review
                  WIlmington's various invoices and prior correspondence
                  related thereto (.7); email with Todd Meyers regarding
                  indenture trustee fees (.2).
12/06/2017 TCM    Review Arent Fox settlement offer (.1); email exchanges with       0.80    780.00
                  client regarding same (.1); telephone conference with Jeff
                  Snyder regarding same (.3); calls with Cori Lopez Castro and
                  Clifford Zucker regarding same (.2); email exchanges with
                  Mike Langford regarding Arent Fox offer (.1).
12/08/2017 TCM    Email exchanges regarding settlement and email exchanges           0.20    195.00
                  with Clifford Zucker regarding same.
12/11/2017 TCM    Email exchanges with Cori Lopez Castro regarding                   0.10     97.50
                  settlement.
12/18/2017 TCM    Telephone call with Cori Lopez Castro regarding settlement.        0.20    195.00
12/21/2017 TCM    Email exchanges with Andrew Silfen and conference with             0.20    195.00
                  Cliff Zucker regarding settlement.
12/22/2017 TCM    Email exchanges regarding settlement (.2); telephone call          0.30    292.50
                  with Cliff Zucker regarding same (.1).
12/29/2017 MDL    Review emails regarding settlement of Wilmington's                 2.10   1,417.50
                  indenture trustee fees and draft proposed consent order
                  regarding the same.
12/29/2017 TCM    Email exchange with Michael Langford regarding settlement          0.10     97.50
                  order.
01/02/2018 MDL    Emails with Todd Meyers regarding indenture trustee fees           3.50   2,450.00
                  (.5); review indenture trustee fees motion, objection, and
                  emails regarding negotiations and prepare proposed consent
                  order (2.4); conference with Todd Meyers regarding
                  indenture trustee fees resolution (.1); review information
                  regarding indenture trustee fees (.4); review email from
                  Shavone Green regarding indenture trustee fees hearing (.1).
01/02/2018 TCM    Revise and edit consent order (.4); telephone conference with      1.20   1,242.00
                  Clifford Zucker regarding same (.1); conference with Mike
                  Langford regarding same (.1); review revised order and email
                  exchanges with Mike Langford regarding same (.2);
                  voicemail from Cori Lopez-Castro regarding hearing (.1);
                  email exchanges with Andy Silfen regarding additional fees
                  (.1); review further revision to order (.1); telephone
                  conference with David Samole regarding order and hearing
                  (.1).
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Date      Initials Description                                                      Hours   Amount
01/03/2018 MDL    Review and revise agreed order regarding indenture trustee         2.10   1,470.00
                  fees (.3); emails with counsel for various indenture trustees
                  and the objecting parties regarding agreed order (.4); review
                  U.S. Bank indenture trustee fee invoices (.2); review and
                  analyze Wilmington's indentures (.3); email with Todd
                  Meyers regarding trustee fees exhibit (.1); review proofs of
                  claim filed by various indenture trustees (.5); email to Todd
                  Meyers regarding agreed order (.1); voice mail messages to
                  and from Leo Crowley regarding BNYM's indenture trustee
                  fees (.1); conference with Shavone Green regarding various
                  indentures and SEC filings (.1).
01/03/2018 SG     Conduct search re first supplemental indenture (.5);               0.60    168.00
                  coordinate courtcall (.1).
01/03/2018 TCM    Review Exhibit A to order and email exchanges with Mike            0.70    724.50
                  Langford regarding same (.2); review further changes to order
                  and email all parties regarding same (.1); email exchanges
                  with Craig Rasile regarding order and U.S. Bank fees (.2);
                  review Jeff Synder email regarding order (.1); email
                  exchanges with Cori Lopez-Castro regarding same (.1).
01/04/2018 MDL    Review revised agreed order on indenture trustee fees (.1);        0.20    140.00
                  email with Arent Fox regarding order (.1).
01/05/2018 MDL    Review and revise agreed order on indenture trustee fees and       1.60   1,120.00
                  review plan, invoices of various indenture trustees, and
                  motion and objection in connection therewith (1.1); emails
                  with Todd Meyers regarding agreed order (2); conference
                  with Todd Meyers regarding indenture trustee fees order (.1);
                  emails with counsel for objecting parties and indenture
                  trustees regarding proposed order (.2).
01/05/2018 TCM    Review changes by various parties to proposed order                0.60    621.00
                  approving fees and email exchanges with Cori Lopez-Castro
                  regarding same.
01/08/2018 MDL    Review and revise agreed order regarding indenture trustee         0.90    630.00
                  fees and review objection in connection therewith (.3); review
                  indenture trustee fee invoices (.2); various emails with
                  counsel for indenture trustees and objecting parties regarding
                  agreed order and issues related thereto (.3); review voice mail
                  message from Leo Crowley regarding indenture trustee fees
                  (.1).
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Date      Initials Description                                                       Hours   Amount
01/08/2018 TCM    Review Jeff Snyder email regarding settlement (.1); email           1.20   1,242.00
                  exchanges with Leo Crowley regarding Bank of New York
                  fees (.1); further email exchanges with Snyder, Crowley and
                  Craig Rasile regarding same (.4); telephone conference with
                  Cori Lopez-Castro regarding order (.1); review Synder
                  changes to same (.1); email exchanges with Craig Rasile and
                  review U.S. Bank invoices (.1); various email exchanges
                  regarding release issue (.3).
01/09/2018 MDL    Review information regarding indenture trustee fee invoices         1.40    980.00
                  and revise agreed order (.3); telephone call with Leo Crowley
                  regarding indenture trustee fees (.1); emails with Todd
                  Meyers regarding indenture trustee fee order (.2); emails with
                  Leo Crowley regarding indenture trustee fee order (.1);
                  review invoices from U.S. Bank and emails with counsel
                  regarding the same (.3); email to Cori Lopez-Castro regarding
                  agreed order (.1); review voices mails and emails from
                  counsel for objecting parties and indenture trustees regarding
                  agreed order (.3).
01/09/2018 TCM    Email exchanges with Cori Lopez-Castro regarding status             0.30    310.50
                  (.1); email exchanges with Mike Langford regarding order
                  (.1); email exchanges with Andy Silfen regarding settlement
                  (.1).
01/10/2018 MDL    Review and analyze information from various attorneys               1.70   1,190.00
                  regarding indenture trustee fees (.3); emails with Cori Lopez-
                  Castro regarding agreed order (.2); email to Arent Fox
                  regarding hearing (.1); review agreed order (.2); conference
                  call with Cori Lopez-Castro and Todd Meyers regarding
                  hearing on indenture trustee fees (.3); telephone call with Jeff
                  Snyder regarding hearing (.1); email and telephone call with
                  Adam Hanover regarding hearing (.2); emails to Cori-Lopez
                  Castro and Todd Meyers regarding agreed order (.2); email
                  with Molly Williams regarding agreed order (.1).
01/10/2018 TCM    Email exchanges and review final order (.2); call with Cori         2.00   2,070.00
                  Lopez-Castro and Mike Langford regarding hearing
                  presentation (.3); additional email exchanges regarding order
                  changes (.2); telephone conference with Clifford Zucker
                  regarding hearing (.1); prepare for same (.2); attend
                  telephonic hearing on fees (1.0).
01/11/2018 TCM    Email exchanges with client regarding hearing and status.           0.10    103.50
01/17/2018 MDL    Review order regarding payment of indenture trustee fees.           0.10     70.00
01/29/2018 TCM    Review Andy Silfen email regarding payments and email               0.10    103.50
                  exchanges with Adam Hanover regarding same.
02/01/2018 MDL    Email with Adam Hanover regarding indenture trustee fees.           0.20    140.00
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Date        Initials Description                                                       Hours     Amount
02/01/2018 TCM      Email client regarding payments to trustees.                        0.10     103.50
02/02/2018 MDL      Review indenture trustee payment information (.4); telephone        0.60     420.00
                    call with Adam Hanover regarding indenture trustee
                    payments (.2).
                    Task Subtotal                                                      31.20   25,318.50

                             B170 - Fee/Employment Objections Summary
Summary   Timekeeper Name                                          Hours     Rate/Hour           Amount
TCM       T. C. Meyers                                               6.40          975.00       6,240.00
TCM       T. C. Meyers                                               6.30     1,035.00          6,520.50
MDL       M. D. Langford                                             5.60          675.00       3,780.00
MDL       M. D. Langford                                            12.30          700.00       8,610.00
SG        Shavone Green                                              0.60          280.00        168.00
          Task Subtotal                                             31.20                      25,318.50

                                        B190 - Litigation General
Date        Initials Description                                                       Hours     Amount
11/21/2017 MMW Prepare litigation binder for 11/27/2017 hearing.                        0.50     147.50
06/07/2018 TCM      Email exchange with Peter Coolidge regarding status.                0.10     103.50
                    Task Subtotal                                                       0.60     251.00

                                    B190 - Litigation General Summary
Summary   Timekeeper Name                                          Hours     Rate/Hour           Amount
TCM       T. C. Meyers                                               0.10     1,035.00           103.50
MMW       M. M. Williams                                             0.50          295.00        147.50
          Task Subtotal                                              0.60                        251.00

                                           All Tasks Summary

Summary   Timekeeper Name                                          Hours     Rate/Hour           Amount
TCM       T. C. Meyers                                               9.70     1,035.00         10,039.50
TCM       T. C. Meyers                                               7.60          975.00       7,410.00
MDL       M. D. Langford                                            29.80          700.00      20,860.00
MDL       M. D. Langford                                             6.60          675.00       4,455.00
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Summary      Timekeeper Name                                      Hours       Rate/Hour        Amount
BEA          Blaine E. Adams                                        5.10         425.00       2,167.50
SG           Shavone Green                                          3.50         280.00        980.00
SG           Shavone Green                                          1.30         265.00        344.50
MMW          M. M. Williams                                         5.50         315.00       1,732.50
MMW          M. M. Williams                                         3.60         295.00       1,062.00
                                                   Totals          72.70                    $49,051.00



Other Charges:
08/29/2017        Miscellaneous - Other Expense of Molly Williams on 08/29/17 regarding          30.00
                  Telephonic hearing appearance
01/16/2018        Miscellaneous - Other Expense of Molly Williams on 01/16/18 regarding          44.00
                  Telephonic court appearance
01/16/2018        Miscellaneous - Other Expense of Molly Williams on 01/16/18 regarding          44.00
                  Telephonic court appearance
01/19/2018        Westlaw On-Line Legal Research                                                 40.46
06/20/2018        Westlaw On-Line Legal Research                                               121.38
                  Document Reproduction                                                          43.80
                  Document Reproduction                                                          11.10
                                          Total Other Charges                                 $334.74
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                                    EXHIBIT 4




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                                                   FEE APPLICATION SUMMARY CHART

                      REQUEST                                            APPROVAL                             PAID                HOLDBACK
                                                               Date
  Date                              Fees       Expenses      Order            Fees        Expenses                   Expenses    Fees    Expenses
  Filed ECF #   Period Covered    Requested Requested       Entered ECF # Approved       Approved      Fees Paid       Paid    Holdback Holdback
 7/16/12 1240    3/9/12-5/31/12   $168,071.00   $3,000.81    8/22/12 1279  $168,071.00    $3,000.81   $168,071.00    $3,000.81     $0.00     $0.00
11/14/12 1355    6/1/12-9/30/12   $503,890.50 $15,825.70     1/11/13 1391  $503,890.50   $15,825.70   $503,890.50   $15,825.70     $0.00     $0.00
 3/18/13 1424   10/1/12-1/31/13   $343,736.80 $30,527.70     6/10/13 1489  $343,736.80   $30,527.70   $343,736.80   $30,527.70     $0.00     $0.00
 7/23/13 1516    2/1/13-5/31/13   $137,361.80 $2,159.05      9/13/13 1555  $137,361.80    $2,159.05   $137,361.80    $2,159.05     $0.00     $0.00
11/20/13 1567    6/1/13-9/30/13   $195,134.70 $11,121.26     2/10/14 1591  $195,134.70   $11,121.26   $195,134.70   $11,121.26     $0.00     $0.00
 3/20/14 1614   10/1/13-1/31/14   $245,743.10   $8,702.91     5/9/14 1637  $245,743.10    $8,702.91   $245,743.10    $8,702.91     $0.00     $0.00
 7/18/14 1654    2/1/14-5/31/14   $308,605.30   $5,596.60     9/2/14 1672  $308,605.30    $5,596.60   $308,605.30    $5,596.60     $0.00     $0.00
11/17/14 1681    6/1/14-9/30/14   $391,875.30 $17,560.63    12/17/14 1695  $391,875.30   $17,560.63   $391,875.30   $17,560.63     $0.00     $0.00
 3/23/15 1705   10/1/14-1/31/15   $744,018.30 $25,348.27     5/11/15 1714  $744,018.30   $25,348.27   $744,018.30   $25,348.27     $0.00     $0.00
 7/21/15 1720    2/1/15-5/31/15   $132,953.60   $4,700.61    8/31/15 1729  $132,953.60    $4,700.61   $132,953.60    $4,700.61     $0.00     $0.00
11/18/15 1738    6/1/15-9/30/15   $240,604.50   $5,152.88     1/4/16 1749  $240,604.50    $5,152.88   $240,604.50    $5,152.88     $0.00     $0.00
 3/17/16 1759   10/1/15-1/31/16   $163,141.10     $566.91    4/18/16 1767  $163,141.10      $566.91   $163,141.10      $566.91     $0.00     $0.00
 7/21/16 1774    2/1/16-5/31/16   $161,823.60     $770.17     9/8/16 1783  $161,823.60      $770.17   $161,823.60      $770.17     $0.00     $0.00
11/23/16 1790    6/1/16-9/30/16    $26,463.30     $593.33   12/30/16 1802   $26,463.30      $593.33    $26,463.30      $593.33     $0.00     $0.00
 3/24/17 1806   10/1/16-1/31/17    $13,196.70      $33.00    5/10/17 1818   $13,196.70       $33.00    $13,196.70       $33.00     $0.00     $0.00
 7/24/17 1824    2/1/17-5/31/17   $110,214.50   $3,494.41    9/15/17 1833  $110,214.50    $3,494.41   $110,214.50    $3,494.41     $0.00     $0.00
11/21/17 1845    6/1/17-9/30/17    $64,238.60     $671.77    1/16/18 1864   $64,238.60      $671.77    $64,238.60      $671.77     $0.00     $0.00




                                                                      Exhibit 4
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Application was

served (i) via the Court's CM/ECF notification to those parties who are registered CM/ECF

participants in these cases; and (ii) via electronic mail on all parties on the attached Service List

on the 15th day of August, 2018.

                                                   /s/ Todd C. Meyers
                                                       Todd C. Meyers




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                      BANKUNITED FINANCIAL CORPORATION et al.
                              CASE NO. 09-19940-LMI

                                      ECF SERVICE LIST
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive e-mail notice/service
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